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THOMAS G. BRUTON
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Plaintiff ( 1 "21 -cv-01 769
Keenan Brown (

Judge: Judge Charles R. Norgle, Sr

Vs

( Judge Jeffrey Cole
Defendant (
McDonald’s Restaurants of (
Illinois, Inc.

COMPLAINT

The Plaintiff, Keenan Brown complaint against the Defendant McDonald’s Restaurants
of Illinois, Inc. states as follows, this complaint’s involves personal injury unlawful practices that
is protected by U.S. codes, Constitutional Rights. Defendant discriminated based on Plaintiffs
protected status violated Plaintiff Rights and Discriminated based on Plaintiffs Protected Status
being African American, black. While being a customer defendant has chosen to be negligent

which lead to Reckless Behavioral Careless Acts.

As paying customer the Defendant has failed its duty to provide proper care of customer
service to its paying customer by not following proper essential steps with plaintiff order.
Plaintiff paid for product and was denied proper care of customer service as well was

discriminated against.

 
 

 

The defendant tossed two boiling hot tea water with no lid tops, tray holder, caution liner

to Plaintiff. Defendant failed to communicate to plaintiff to be careful and aware of tea beverage.

Plaintiff did not deserve unfair treatment.

The defendant chosen not to check the temperature of the steaming boiling hot tea
beverage in which the level was above 180 to 190 degrees. The defendant decided to throw the
hot beverage at plaintiff without reason. Defendant was not apologetic, in which led to plaintiff

receiving a serious burned injures.

Defendant chosen not to be apologetic about his actions of unlawful conduct nor did
management handle things in a professional manner. The condition in which the beverage was
served was unreasonably dangerous and also the condition existed at the time the product left the
defendants employee hand. Coney vy. J.L.G. Indus., 97 Ill.2d 104, 111, 454 N.E.2d 197, 200

(1983).

Defendant violated the consumer and discriminated against Plaintiff by not following
their own policies when serving customer. Defendant knew of hazard and acted with disregard
for the safety of Plaintiff. Plaintiff was served very hot beverage with no lid that caused burns to

Plaintiff skin.

The Defendant breached duty causing so much harm and damage to Plaintiff due to

Defendant negligence plaintiff was affected from preforming his daily life activity, jobs also
  

plaintiff mental health has been affected. Defendant shall be held liable for breaching that duty

    
   
  
  
   
 
   
   

along with intentionally discriminating against Plaintiff by tossing hot beverage with no lid.

JURISDICTION AND VENUE

Plaintiff: Keenan Brown, Citizen of Georgia

Defendant: McDonald’s Restaurants of Illinois, Inc. The Defendant in incorporated under the laws
of the state of Illinois, and has its principal state of business in the state of Illinois.

Defendant operates business in Will County, IL.

295 N Weber Rd, Bolingbrook, IL 60490

This court has jurisdiction over this action pursuant 28 U.S § 1332 — Diversity of
citizenship. Venue is proper because the business property is located in this District where the

complaint is brought. The amount exceeds 75,000.

NATURE OF THE CASE

1. Defendant breach of policy handbooks
2. Negligence
3. 42 U.S. Code 1981 Equal rights under the law

4. 28 U.S § 1332 — Diversity of citizenship

KEENAN BROWN STATEMENT
 

Plaintiff: Keenan Brown, Citizen of Fulton, Georgia
Defendant: McDonald’s Restaurants of Illinois, Inc.
Defendant operates business in Will County, IL.
295 N Weber Rd, Bolingbrook, IL 60490

On the date of October 24", 2019 around 9:43 Plaintiff went to McDonald Restaurant of
Illinois, Inc. located at 295 N Weber Rd, Bolingbrook, IL 60490. I was not greeted, and
defendant acted in reckless disregard failed to follow restaurant policy in which led to defendant

operating in “reckless” behavior acts.

I continue to proceed with ordering two Quarter Pounder deluxe burgers and two hot tea

beverages. Defendant negligently intentionally wrongfully served the plaintiff by not providing
proper service causing injuries and burns, emotional damage. Defendant has discriminated and

humiliated plaintiff. Defendant practiced unlawful, careless, and reckless behavioral acts

towards plaintiff.

Defendant improper services lead to Breach of McDonald Restaurant Policy when
providing unlawful practices and acts also discriminating against plaintiff based on protected

status.

Katzenbach v. McClung, 379 U.S. 294 (1964) Federal laws like the Civil Rights Act of
1964 apply not only to restaurants that serve interstate travelers but also to restaurants that use
food that has traveled in interstate commerce, which must provide fully equal access to African

Americans.

 
The defendant tossed two boiling hot tea water with no lid tops, tray holder, caution liner

to Plaintiff. Defendant failed to communicate to plaintiff to be careful and aware of tea beverage.

The defendant chosen not to check the temperature of the steaming boiling hot tea
beverage in which the level was above 180 to 190 degrees. The defendant decided to throw the
hot beverage at plaintiff without reason. Defendant was not apologetic, in which led to plaintiff

receiving a serious burned injures.

Defendants Management Claims Department were Careless & Discriminatory about the
conduct that occurred at Defendant restaurant. In fact, they never wanted to accept liability for
the unlawful conduct or issue apology letter for unlawful acts for plaintiff burning and leading to
injuries. The defendant has discriminated along with refusing to help plaintiff in need. Store
managers has failed to accommodate as well reach out to plaintiff to check on the condition of
plaintiff burned injuries.

Bugg v. Just Wing It, LLC U.S. 1:18-CV-02399 2018

Plaintiff burned marks and injuries humiliation could’ ve been prevented if the defendant
provided the following items: Lid tops, Tray holder, Caution liner along with actually handing it
to the plaintiff the paying customer and greeting the paying customer for being polite and
business. But instead that didn’t happen. Plaintiff was discriminated humiliated while other
employee laughs about matter Plaintiff also suffered Burned Injuries stress and even pneumonia

during the time along trauma flash back of incident.

 
The video surveillance camera photographed shows the reckless behavioral intent of the
defendant chosen to neglect and improperly service the plaintiff for being African American
male while ordering food services. The plaintiff has filed a police report due to his unlawful

unpleasant experience at the McDonald Restaurant at 295 N Weber Rd. Bolingbrook, IL 60490.

Plaintiff is seeking that justice in Federal court be served on his behalf due to damages
pain and suffering the defendant has caused in plaintiff life for practicing unlawful reckless

behavioral acts that lead to burning the Plaintiff.

CONCLUSION

Overall, Plaintiff is seeking justice be served due to the defendants unlawful, reckless,
and careless behavioral acts in discrimination toward the plaintiff being African American male
for improper service. The Defendant breach of duty caused harm and damage to Plaintiff due to
Defendant negligence. Defendant shall be held liable for breaching that duty as well as

intentionally discriminating against Plaintiff by tossing hot beverage with no lid.

Defendant owed Plaintiff duty of care when serving hot beverages. Defendant failed that
duty and by intentionally tossing a hot beverage at Plaintiff. Defendant failed to prevent harm to
Plaintiff based on his protected status being an African American Black male. Defendant was
negligent and failed to do what any reasonable or rational person would have done when serving

a hot beverage to customer.

 
Defendant breached that duty when they intentionally discriminated against plaintiff and
was very negligent. By defendant breaching their duty of care plaintiff has experienced injury,
emotional distress, mental anguish, embarrassment, humiliation, and was insulted by the
Defendant employees as well. Plaintiff is experiencing pain and suffering from the incident that

occurred at McDonalds Restaurant.

WHEREFORE, Plaintiff Keenan Brown comes before Honorable Judge, seeks judgement
against Defendant MCDONALD’S RESTAURANTS OF ILLINOIS INC. for this matter.
Plaintiff Keenan Brown requesting relief for the suffered damages in the amount of $5,000,000.
Plaintiff is seeking compensatory and punitive damages, as well as other damages deemed just

by the court. Plaintiff demands trial by jury to conclude this matter.
CERTIFICATE OF SERVICE
This is to certify that on March 29", 2021 a true and correct copy of Pro Se Plaintiff
Keenan Brown Complaint was submitted with the Clerk of the Circuit Court using the CM/ECF

filing system which will send notification of such filing to the attorneys of record listed below:

Respectfully Submitted,

Pro Se Litigant, Keenan Brown
Dated: March 29,2021

Phone: 312-826-4385

P.O. Box 768792

Roswell, GA 30076

 
